Case 20-32633-sgj11              Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57                          Desc
                                   Main Document     Page 1 of 21


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    Counsel to the GUC Trustee

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    In re:                                                          §    Case No. 20-32633-SGJ
                                                                    §
    STUDIO MOVIE GRILL HOLDINGS, LLC, et al.,1                      §    Chapter 11
                                                                    §
                     Debtors.                                       §    Jointly Administered

                    GUC TRUSTEE AND REORGANIZED DEBTORS’ JOINT
                  SECOND OMNIBUS OBJECTION TO CLAIMS (DUPLICATE)

THIS IS AN OBJECTION TO YOUR CLAIM.      THE GUC TRUSTEE AND
REORGANIZED DEBTORS ARE OBJECTING TO YOUR CLAIM BECAUSE THE
DEBTORS’ BOOKS AND RECORDS INDICATE THAT IT IS DUPLICATIVE OF
ANOTHER PROOF OF CLAIM FILED AGAINST MULTIPLE DEBTORS.

YOU SHOULD LOCATE YOUR CLAIM ON EXHIBIT 1 ATTACHED HERETO. A
COPY OF YOUR CLAIM MAY BE OBTAINED FREE OF CHARGE BY CONTACTING
THE TRUST’S COUNSEL, STEVEN GOLDEN AT SGOLDEN@PSZJLAW.COM OR BY
VISTING HTTPS://WWW.DONLINRECANO.COM/CLIENTS/SMGH/.

IN ACCORDANCE WITH GENERAL ORDER 2021-05, A HYBRID STATUS
CONFERENCE WILL BE HELD BEFORE THE HONORABLE JUDGE STACEY G.C.
JERNIGAN, EARLE CABELL FEDERAL BUILDING, U.S. COURTHOUSE, 1100

1
 A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://www.donlinrecano.com/Clients/smgh/Index.


DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57            Desc
                               Main Document     Page 2 of 21



COMMERCE STREET, ROOM 1421, COURTROOM #1, 14TH FLOOR, DALLAS,
TEXAS ON SEPTEMBER 7, 2022, AT 9:30 A.M., PREVAILING CENTRAL TIME,
WHICH IS AT LEAST 40 DAYS FROM THE DATE OF SERVICE OF NOTICE
HEREOF. PARTIES MAY APPEAR EITHER IN PERSON OR VIA WEBEX
VIDEOCONFERENCE.     THE     HEARING       LINK    IS:   HTTPS://US-
COURTS.WEBEX.COM/MEET/JERNIGA. PARTIES UNFAMILIAR WITH WEBEX
ARE REQUESTED TO REVIEW THE WEBEX HEARING INSTRUCTIONS PROVIDED
WITH THE NOTICE OF STATUS CONFERENCE OR POSTED ON JUDGE
JERNIGAN’S WEBPAGE PRIOR TO THE HEARING. THE WEBEX HEARING
INSTRUCTIONS MAY BE ACCESSED AT:
HTTPS://WWW.TXNB.USCOURTS.GOV/JUDGE-INFO/HEARING-DATES/JUDGE-
JERNIGANS-HEARING-DATES.

IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN WRITING
AND FILE YOUR RESPONSE WITH THE CLERK OF THE UNITED STATES
BANKRUPTCY COURT AT 1100 COMMERCE STREET, ROOM 1254, DALLAS,
TEXAS 75242 BEFORE THE CLOSE OF BUSINESS ON AUGUST 12, 2022, WHICH IS
AT LEAST 30 DAYS FROM THE DATE OF SERVICE HEREOF. THE WRITTEN
RESPONSE MUST ALSO BE SERVED UPON STEVEN GOLDEN, COUNSEL FOR THE
TRUST, AND JEFFERY VETETO, COUNSEL FOR THE REORGANIZED DEBTORS,
PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF NO RESPONSE IS FILED
AND SERVED AS SET FORTH HEREIN, THE RELIEF REQUESTED HEREIN SHALL
BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF SOUGHT.

        Advisory Trust Group, LLC (the “GUC Trustee”), solely in its capacity as GUC Trustee

of the GUC Trust (the “GUC Trust”), and Studio Movie Grill Holdings, LLC and its reorganized

debtor affiliates (the “Reorganized Debtors”) (collectively, the “Objectors”), file this omnibus

objection (the “Objection”) pursuant to section 502(b) of title 11 of the United States Code (the

“Bankruptcy Code”), Rule 3007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rules 3007-1 and 3007-2 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Northern District of Texas (the “Local Rules”) to proofs of claim that

are duplicative of another filed proof of claim filed by the claimant against one or more of the

Debtors herein. Through this Objection, the Objectors seek the entry of an order disallowing and

expunging the duplicative proofs of claim identified on Exhibit 1 to the Proposed Order




                                               1
DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57               Desc
                               Main Document     Page 3 of 21



(collectively, the “Duplicate Claims”). In support of this Objection, the Objectors respectfully

state as follows:

                        I.   JURISDICTION, VENUE, AND AUTHORITY

        1.       This Court has jurisdiction over this Objection pursuant to 28 U.S.C. §§ 157(a) and

1334(a), and Article 12.1 of the Plan. Consideration of this Objection is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2)(B). Venue is proper in this District and in this Court pursuant to 28

U.S.C. §§ 1408 and 1409. This Court has authority to enter a final order in this matter.

                               II.    RELEVANT BACKGROUND

        2.       On October 23, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

petition with this Court under chapter 11 of the Bankruptcy Code. On November 13, 2020, each

of the Debtors filed their Statements of Financial Affairs for Non-Individuals and Schedules of

Assets and Liabilities (collectively, the “Schedules”). The Debtors retained Donlin, Recano &

Co., Inc. as their claims and administrative agent (the “Claims Agent”) who, among other things,

maintains the official claims register in the Debtors’ cases (the “Claims Register”).

        3.       On March 31, 2021, the Court entered the order [Docket No. 875] (the

“Confirmation Order”) confirming the Debtors’ Fourth Amended Joint Chapter 11 Plan of

Reorganization [Docket No. 875] (the “Plan”). The Plan became effective by its terms April 15,

2021 (the “Effective Date”). See Notice of (I) Entry of Order Confirming the Debtors' Fourth

Amended Joint Chapter 11 Plan of Reorganization and (II) Occurrence of the Effective Date

[Docket No. 917].

        4.       Upon the Effective Date, the GUC Trust was created pursuant to the Plan and the

GUC Trust Agreement, and Advisory Trust Group, LLC was appointed as the GUC Trustee of the

GUC Trust. See Plan at Article IV.B.1-2. Pursuant to Article VII.B of the Plan, (a) the GUC



                                                  2
DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57                Desc
                               Main Document     Page 4 of 21



Trustee is vested with the sole authority to prosecute objections to GUC Claims, Convenience

Class Claims, and the Panterra Claims and (b) the Reorganized Debtors are vested with the sole

authority to prosecute objections to all other Claims, in each instance from and after the Effective

Date of the Plan.

        5.       The Duplicate Claims. The Objectors have identified Duplicate Claims on Exhibit

1 that are identical in nature and amount and filed against multiple Debtors. The Plan was premised

on the consolidation of the Debtors for the purposes of distributions to holders of unsecured claims.

Specifically, the Plan provides that “each and every GUC Claim or Convenience Class Claim

against a Debtor that is not listed on the Schedule of Abandoned Debtors, the Schedule of Non-

Applicable Debtors, or the Schedule of Converted Cases shall (a) be deemed merged or treated as

liabilities of the GUC Trust to the extent Allowed and (b) shall be treated as filed against the

consolidated Debtors and shall be treated as one GUC Claim or one Convenience Class Claim, as

applicable, as an obligation of the GUC Trust. “ See Plan, Art. IV.C.13. Accordingly, the same

claim filed against multiple debtors is to be treated as a single claim for purposes of claim

allowance and distribution under the Plan and GUC Trust.

                                       III.   DISCUSSION

A.      The Objection Complies with All Applicable Statutes and Rules

        6.       An omnibus objection is appropriate in this case. Bankruptcy Rule 3007(d)(1)

states that “objections to more than one claim may be joined in an omnibus objection if all the

claims were filed by the same entity, or the objections are based solely on the grounds that the

claims should be disallowed, in whole or in part, because: (1) they duplicate other claims.” FED.

R. BANKR. P. 3007(d)(1). Bankruptcy Rule 3007(f) provides that “[t]he finality of any order




                                                 3
DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57                   Desc
                               Main Document     Page 5 of 21



regarding a claim objection included in an omnibus objection shall be determined as though the

claim had been subject to an individual objection.” FED. R. BANKR. P. 3007(f).

        7.       In compliance with Bankruptcy Rule 3007 and Local Rule 3007-1(b), a copy of the

Objection will be served on: (1) the holders (and their counsel, if known) of the Duplicate Claims

by first class mail; and (2) the United States Trustee. The notice of the Objection will also be

served on those who have requested notice pursuant to Bankruptcy Rule 2002. In compliance with

Local Rule 3007-2(a), the holders of the Duplicate Claims will be provided with at least forty (40)

days from service of the Objection to file a written response to the Objection and the Duplicate

Claims have been listed in alphabetical order on Exhibit 1 hereto.

B.      The Objectors Have Met Their Burden of Proof on the Objection

        8.       Section 502(a) of the Code governs objections to claims and provides that “[a]

claim or interest, proof of which is filed under section 501 of this title, is deemed allowed, unless

a party in interest . . . objects.” 11 U.S.C. § 502(a). If an objection to the claim is made, “the

court, after notice and a hearing, shall determine the amount of such claim in lawful currency of

the United States as of the date of the filing of the petition, and shall allow such claim in such

amount.” Id. § 502(b).

        9.       A properly executed and filed proof of claim constitutes prima facie evidence of

the validity and amount of the claim. FED. R. BANKR. P. 3001(f). Under Fifth Circuit case law, if

a debtor or trustee successfully objects to a proof of claim, the burden shifts to the creditor to prove

the underlying validity of its claim by a preponderance of evidence. See Matter of O'Connor, 153

F.3d 258, 260-261 (5th Cir. 1998).

        10.      Following a thorough review of the proofs of claim, the Objectors have determined

that the Duplicate Claims should be disallowed and expunged because they are identical and



                                                   4
DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57                Desc
                               Main Document     Page 6 of 21



duplicative of other proofs of claim that were filed by or on behalf of the same claimant (or a

successor thereto) in respect to the same liabilities. Therefore, to prevent an unwarranted recovery

by the holders of the Duplicate Claims to the detriment of other creditors, the Objectors request

that the Court disallow and expunge the Duplicate Claims identified on Exhibit 1.

        11.      In all instances, one claim filed by the claimant will survive and is unaffected by

this Objection (the “Surviving Claims”). The Objectors have also identified the Surviving Claims

on Exhibit 1.

        12.      By this Objection, the Objectors seek to disallow the Duplicate Claims and thus

limit each claimant to its Surviving Claim and a single potential recovery. Any disallowance or

expungement of the Duplicate Claims will not affect the Surviving Claims, which will remain on

the Claims Register, subject to the Reorganized Debtors’ and the Trust’s right to object to such

claims in the future on any and all grounds.

                               IV.    RESERVATION OF RIGHTS

        13.      This Objection is limited to the grounds stated herein. Accordingly, it is without

prejudice to the rights of the Reorganized Debtors, GUC Trustee, or any other party in interest to

object to any of the Duplicate Claims (to the extent not disallowed and expunged pursuant to this

Objection) on any grounds whatsoever, and the Objectors expressly reserve all further substantive

or procedural objections it may have should the Objection be overruled. The Objectors reserve

their right to object on other stated grounds or on any other grounds that it discovers during the

pendency of these bankruptcy cases.         In addition, the Objectors reserve the right to file

counterclaims against the holders of any such claims.

        14.      Nothing contained herein or any actions taken pursuant to such relief is intended or

should be construed as: (a) an admission as to the validity of any prepetition claim against a Debtor



                                                  5
DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11           Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57                Desc
                                Main Document     Page 7 of 21



entity or such Debtor entity’s estate; (b) a waiver of any party’s right to dispute any prepetition

claim on any grounds; (c) a promise or requirement to pay any prepetition claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Objection or any

order granting the relief requested by this Objection; (e) a request or authorization to assume any

prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f) a

waiver of the Objectors’ rights under the Bankruptcy Code or any other applicable law.

                             V.   SEPARATE CONTESTED MATTER

        15.      To the extent that a response is filed regarding any Books and Records Claim and

Claim, and the Objection as it pertains to such Books and Records Claim, will constitute a separate

contested matter as contemplated by Bankruptcy Rule 9014. Further, the Objectors request that

any order entered by the Court regarding an objection or other reply asserted in response to this

Objection be deemed a separate order with respect to each proof of claim.

                                           VI.    NOTICE

        16.      The Objectors will provide notice of this Objection to: (a) all claimants holding the

Duplicate Claims and counsel, if any, listed on Exhibit 1; (b) the Office of the United States

Trustee; and (c) all parties that have filed a request to receive service of court filings pursuant to

Bankruptcy Rule 2002. Additionally, the Objectors have prepared a form “Notice of Objection to

Your Claim” attached hereto as Exhibit A to accompany service of the Objection. The Objectors

respectfully submit that no further notice is required.

                                       VII. CONCLUSION

        WHEREFORE, for the reasons stated in the Objection, the Objectors respectfully request

entry of an order in substantially the same form as the proposed order attached hereto as Exhibit

B (a) sustaining this Objection; (b) disallowing and expunging the Duplicate Claims; (c) reserving



                                                   6
DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57                Desc
                               Main Document     Page 8 of 21



all rights to object on any other ground, and (d) granting such other and further relief as the Court

deems just and proper.

                             [Remainder of page intentionally left blank]




                                                  7
DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57          Desc
                               Main Document     Page 9 of 21



 Dated: July 11, 2022                         PACHULSKI STANG ZIEHL & JONES LLP

                                              By: /s/ Steven W. Golden
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                                              Counsel to the GUC Trust

                                              LAW OFFICES OF FRANK J. WRIGHT, PLLC


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                                              Counsel to the Reorganized Debtors




                                             8
DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57   Desc
                               Main Document    Page 10 of 21




                                         EXHIBIT A

                                      Notice of Objection




DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11              Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57                         Desc
                                   Main Document    Page 11 of 21




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    Counsel to the GUC Trustee


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    In re:                                                         §     Case No. 20-32633-SGJ
                                                                   §
    STUDIO MOVIE GRILL HOLDINGS, LLC, et al.,1                     §     Chapter 11
                                                                   §
                     Debtors.                                      §     Jointly Administered

                             NOTICE OF OBJECTION TO YOUR CLAIM

TO:          THE CLAIMANTS IDENTIFIED IN EXHIBIT 1 TO THE GUC TRUSTEE’S
             AND REORGANIZED DEBTORS’ SECOND OMNIBUS OBJECTION TO
             CLAIMS (DUPLICATE)

        PLEASE TAKE NOTICE that Advisory Trust Group, LLC (the “GUC Trustee”), solely
in its capacity as GUC Trustee of the GUC Trust (the “GUC Trust”), and Studio Movie Grill
Holdings, LLC and its reorganized debtor affiliates (the “Reorganized Debtors”) (collectively, the
“Objectors”), have filed an objection (“Objection”) to disallow certain proofs of claim because, in
each instance, the proof of claim duplicates one or more other proofs of claim asserted by the same
creditor against multiple Debtors. You should locate your name on “Exhibit 1” to the Objection.



1
 A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://www.donlinrecano.com/Clients/smgh/Index.


DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57                 Desc
                               Main Document    Page 12 of 21



Because the Objectors seek to disallow and expunge your duplicate claim(s) (“Duplicate Claims”),
you should read this notice and the attached Objection carefully.

        PLEASE TAKE FURTHER NOTICE that, in accordance with General Order 2021-05,
a hybrid status conference will be held before the Honorable Stacey G.C. Jernigan, Earle Cabell
Federal Building, U.S. Courthouse, 1100 Commerce Street, Room 1421, Courtroom #1, 14th
Floor, Dallas, Texas on September 7, 2022, at 9:30 a.m., prevailing central time, which is no
less than 40 days from the date of service hereof. Parties may appear either in person or via WebEx
Videoconference. The hearing link is: https://us-courts.webex.com/meet/jerniga. Parties
unfamiliar with WebEx are requested to review the WebEx Hearing Instructions provided with the
Notice of Status Conference or posted on Judge Jernigan’s webpage prior to the hearing. The
WebEx Hearing Instructions may be accessed at: https://www.txnb.uscourts.gov/judge-
info/hearing-dates/judge-jernigans-hearing-dates.

        PLEASE TAKE FURTHER NOTICE that if you object to the relief requested by the
Objection, you must respond in writing and file your response with the Clerk of the United States
Bankruptcy Court for the Northern District of Texas, Dallas Division, at the Earle Cabell Federal
Building, 1100 Commerce Street, Room 1254, Dallas, Texas 75242-1496, before the close of
business on August 12, 2022, which is at least 30 days from the date of service hereof. A copy of
the written response must also be served on Steven W. Golden, counsel for the GUC Trustee, and
Jeffery M. Veteto, counsel for the Reorganized Debtors, prior to the date and time set forth herein.
If no response is filed and served as set forth herein, the relief requested herein shall be deemed to
be unopposed, and the Court may enter an order granting the relief sought.

        PLEASE TAKE FURTHER NOTICE that nothing in this Notice or the accompanying
Objection constitutes a waiver of the right of the GUC Trustee and/or the Reorganized Debtors to
assert any claims, counterclaims, rights of offset or recoupment, preference actions, fraudulent-
transfer actions, or any other bankruptcy or non-bankruptcy claims or objections against you or
the Duplicate Claims, including any additional objections regarding the allowance of the Duplicate
Claims.
                           [Remainder of page intentionally left blank]




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DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57          Desc
                               Main Document    Page 13 of 21



 Dated: July 11, 2022                         PACHULSKI STANG ZIEHL & JONES LLP

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                                              Counsel to the GUC Trust


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                                              Counsel to the Reorganized Debtors




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DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57   Desc
                               Main Document    Page 14 of 21



                                         EXHIBIT B

                                       Proposed Order




DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11            Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57                           Desc
                                 Main Document    Page 15 of 21




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    In re:                                                         §     Case No. 20-32633-SGJ
                                                                   §
    STUDIO MOVIE GRILL HOLDINGS, LLC, et al.,3                     §     Chapter 11
                                                                   §
                    Debtors.                                       §     Jointly Administered

    ORDER GRANTING GUC TRUSTEE’S AND REORGANIZED DEBTORS’ SECOND
              OMNIBUS OBJECTION TO CLAIMS (DUPLICATE)

             The Court considered the GUC Trustee’s and Reorganized Debtors’ Second Omnibus

Objection to Claims (Duplicate) (the “Objection”) filed by Advisory Trust Group, LLC (the “GUC

Trustee”), solely in its capacity as GUC Trustee of the GUC Trust (the “GUC Trust”), and Studio

Movie Grill Holdings, LLC and its reorganized debtor affiliates (the “Reorganized Debtors”)

(collectively, the “Objectors”), pursuant to which the Objectors seek to disallow certain Duplicate


3
 A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://www.donlinrecano.com/Clients/smgh/Index.

DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57                  Desc
                               Main Document    Page 16 of 21



Claims because, in each instance, the proof of claim duplicates one or more other proofs of claim

asserted by the same creditor against multiple Debtors; the Court having reviewed the Objection

and finding that (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334, (b) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), (c) venue is proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409; (d) notice of the Objection and of the hearing

on the Objection was sufficient under the circumstances and no other or further notice need be

provided; (e) all responses, if any, to the Objection have been withdrawn, resolved, or overruled;

and (f) that good cause appears for the relief requested, it is therefore HEREBY ORDERED

THAT:

        1.       The Objection is SUSTAINED.

        2.       Each of the Duplicate Claims identified on Exhibit 1 attached hereto is disallowed

and expunged in its entirety pursuant to section 502(b) of the Bankruptcy Code.

        3.       The GUC Trustee, Reorganized Debtors, or the Claims Agent, as applicable, is

authorized to update the Claims Register in these cases to reflect the relief granted in this Order.

        4.       The Order shall be immediately effective and enforceable upon its entry.

        5.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

        6.       Each of the Duplicate Claims and the objections by the GUC Trustee and the

Reorganized Debtors to such Duplicate Claims, constitutes a separate contested matter as

contemplated by Bankruptcy Rule 9014. This Order shall be deemed a separate Order with respect

to each of the Duplicate Claims.


                                     ### END OF ORDER ###




DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57   Desc
                               Main Document    Page 17 of 21



Respectfully submitted by:

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DOCS_DE:238931.3 01212/001
Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57   Desc
                               Main Document    Page 18 of 21



                                         EXHIBIT 1

                                      Duplicate Claims




DOCS_DE:238931.3 01212/001
      Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57         Desc
                                     Main Document    Page 19 of 21



                                              Duplicate Claims

                                                                                 DUPLICATE   SURVIVING
                                                                     CLAIM
              CLAIMANT                    DEBTOR NAME                            DRC CLAIM      DRC
                                                                     DATE
                                                                                    NO.      CLAIM NO.
       CONTINENTAL
1.                                 MOVIE GRILL CONCEPTS XLI,
       CASUALTY COMPANY                                             2/19/2021       490         489
                                   LLC
       AND AFFILIATES
       CONTINENTAL
2.                                 MOVIE GRILL CONCEPTS XXX,
       CASUALTY COMPANY                                             2/19/2021       491         489
                                   LLC
       AND AFFILIATES
       CONTINENTAL
3.                                 MOVIE GRILL CONCEPTS XVI,
       CASUALTY COMPANY                                             2/19/2021       492         489
                                   LLC
       AND AFFILIATES
       CONTINENTAL
4.                                 STUDIO MOVIE GRILL
       CASUALTY COMPANY                                             2/19/2021       493         489
                                   HOLDINGS, LLC
       AND AFFILIATES
5.
       CSI LEASING INC             MOVIE GRILL CONCEPTS III, LTD.   2/19/2021       507         502
6.
       CSI LEASING INC             MOVIE GRILL CONCEPTS IX, LLC     2/19/2021       510         502
7.
       CSI LEASING INC             MOVIE GRILL CONCEPTS VI, LTD.    2/19/2021       512         502
8.                                 STUDIO MOVIE GRILL
       EOMAC LTD                                                    10/29/2020      17          508
                                   HOLDINGS, LLC
9.                                 STUDIO MOVIE GRILL
       J AND J MECHANICAL                                           11/9/2020       59          58
                                   HOLDINGS, LLC
10.    JEWISH FEDERATION           STUDIO MOVIE GRILL
                                                                    2/21/2021     52331.00    52330.00
       OF PINELLAS AND             HOLDINGS, LLC
11.    KERN COUNTY TAX             MOVIE GRILL CONCEPTS XXXV,
                                                                    2/21/2021     50788.00    51093.00
       COLLECTOR                   LLC
       KEVIN PATRICK, AS
12.    AN INDIVIDUAL AND
                                   MOVIE GRILL CONCEPTS XX, LLC     1/28/2021       233         232
       FOR ALL THOSE
       SIMILARLY SITUATED
13.                                MOVIE GRILL CONCEPTS XXV,
       KHNEMMU, TCHAASU                                              2/8/2021       290         289
                                   LLC
14.                                STUDIO MOVIE GRILL
       MARTIN, HERMAN                                               2/16/2021       316         317
                                   HOLDINGS, LLC
15.    ROMANOFF ELECTRIC           STUDIO MOVIE GRILL
                                                                     2/8/2021       260         262
       RESIDENTIAL LLC             HOLDINGS, LLC
16.    ROMANOFF ELECTRIC           MOVIE GRILL CONCEPTS XXXI,
                                                                     2/8/2021       261         262
       RESIDENTIAL LLC             LLC
17.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XLII,
                                                                     2/8/2021       269         274
       PUBLIC ACCOUNTS             LLC
18.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XL, LLC
                                                                     2/8/2021       270         274
       PUBLIC ACCOUNTS
19.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XIV,
                                                                     2/8/2021       271         274
       PUBLIC ACCOUNTS             LLC
20.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XIX,
                                                                     2/8/2021       272         274
       PUBLIC ACCOUNTS             LLC
21.    TX- COMPTROLLER OF          MOVIE GRILL PARTNERS 3, LLC
                                                                     2/8/2021       275         274
       PUBLIC ACCOUNTS



      DOCS_DE:238931.3 01212/001
      Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57        Desc
                                     Main Document    Page 20 of 21


                                                                                DUPLICATE   SURVIVING
                                                                    CLAIM
              CLAIMANT                    DEBTOR NAME                           DRC CLAIM      DRC
                                                                    DATE
                                                                                   NO.      CLAIM NO.
22.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS LV, LLC
                                                                    2/8/2021      276          274
       PUBLIC ACCOUNTS
23.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS LIII,
                                                                    2/8/2021      277          274
       PUBLIC ACCOUNTS             LLC
24.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XLIX,
                                                                    2/28/2021     278          274
       PUBLIC ACCOUNTS             LLC
25.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XLVIII,
                                                                    2/8/2021      279          274
       PUBLIC ACCOUNTS             LLC
26.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS IV, LTD.
                                                                    2/8/2021      280          274
       PUBLIC ACCOUNTS
27.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XLI,
                                                                    2/8/2021      281          274
       PUBLIC ACCOUNTS             LLC
28.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XI, LLC
                                                                    2/8/2021      282          274
       PUBLIC ACCOUNTS
29.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS III, LTD.
                                                                    2/8/2021      283          274
       PUBLIC ACCOUNTS
30.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XII, LLC
                                                                    2/8/2021      284          274
       PUBLIC ACCOUNTS
31.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XIII,
                                                                    2/8/2021      285          274
       PUBLIC ACCOUNTS             LLC
32.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXXIII,
                                                                    2/16/2021     318          274
       PUBLIC ACCOUNTS             LLC
33.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXXIV,
                                                                    2/16/2021     319          274
       PUBLIC ACCOUNTS             LLC
34.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXXIX,
                                                                    2/16/2021     320          274
       PUBLIC ACCOUNTS             LLC
35.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXXV,
                                                                    2/16/2021     321          274
       PUBLIC ACCOUNTS             LLC
36.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXXVI,
                                                                    2/16/2021     322          274
       PUBLIC ACCOUNTS             LLC
37.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS
                                                                    2/16/2021     354          274
       PUBLIC ACCOUNTS             XXXVIII, LLC
38.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXII,
                                                                    2/16/2021     324          274
       PUBLIC ACCOUNTS             LLC
39.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS VI, LTD.
                                                                    2/16/2021     329          274
       PUBLIC ACCOUNTS
40.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS
                                                                    2/17/2021     346          274
       PUBLIC ACCOUNTS             TRADEMARK HOLDINGS, LLC
41.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XLVII,
                                                                    2/17/2021     348          274
       PUBLIC ACCOUNTS             LLC
42.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XLVI,
                                                                    2/17/2021     349          274
       PUBLIC ACCOUNTS             LLC
43.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXXII,
                                                                    2/17/2021     351          274
       PUBLIC ACCOUNTS             LLC
44.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS VI, LTD.
                                                                    2/17/2021     352          274
       PUBLIC ACCOUNTS
45.    TX- COMPTROLLER OF          STUDIO CLUB IV, LLC
                                                                    2/17/2021     353          274
       PUBLIC ACCOUNTS
46.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS L, LLC
                                                                    2/22/2021     587          274
       PUBLIC ACCOUNTS




      DOCS_DE:238931.3 01212/001
      Case 20-32633-sgj11          Doc 1097 Filed 07/11/22 Entered 07/11/22 08:41:57       Desc
                                     Main Document    Page 21 of 21


                                                                               DUPLICATE   SURVIVING
                                                                   CLAIM
              CLAIMANT                    DEBTOR NAME                          DRC CLAIM      DRC
                                                                   DATE
                                                                                  NO.      CLAIM NO.
47.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XX, LLC
                                                                   2/22/2021     588          274
       PUBLIC ACCOUNTS
48.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XVIII,
                                                                   2/22/2021     589          274
       PUBLIC ACCOUNTS             LLC
49.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XVII,
                                                                   2/22/2021     590          274
       PUBLIC ACCOUNTS             LLC
50.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS LII, LLC
                                                                   2/22/2021     591          274
       PUBLIC ACCOUNTS
51.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XLV,
                                                                   2/22/2021     593          274
       PUBLIC ACCOUNTS             LLC
52.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XLIII,
                                                                   2/22/2021     594          274
       PUBLIC ACCOUNTS             LLC
53.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS VII, LLC
                                                                   2/22/2021     595          274
       PUBLIC ACCOUNTS
54.    TX- COMPTROLLER OF          MGC MANAGEMENT I, LLC
                                                                   2/22/2021     596          274
       PUBLIC ACCOUNTS
55.    TX- COMPTROLLER OF          MOVIE GRILL PARTNERS 4, LLC
                                                                   2/22/2021     597          274
       PUBLIC ACCOUNTS
56.    TX- COMPTROLLER OF          MOVIE GRILL PARTNERS 6, LLC
                                                                   2/22/2021     598          274
       PUBLIC ACCOUNTS
57.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XV, LLC
                                                                   3/1/2021      609          274
       PUBLIC ACCOUNTS
58.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS LI, LLC
                                                                   3/1/2021      613          274
       PUBLIC ACCOUNTS
59.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXIX,
                                                                   2/26/2021     614          274
       PUBLIC ACCOUNTS             LLC
60.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXVI,
                                                                   2/26/2021     618          274
       PUBLIC ACCOUNTS             LLC
61.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXV,
                                                                   2/26/2021     619          274
       PUBLIC ACCOUNTS             LLC
62.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXVIII,
                                                                   3/11/2021     629          274
       PUBLIC ACCOUNTS             LLC
63.    TX- COMPTROLLER OF          MOVIE GRILL CONCEPTS XXIII,
                                                                   3/11/2021     630          274
       PUBLIC ACCOUNTS             LLC




      DOCS_DE:238931.3 01212/001
